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                                AO 91(Rev.5/85) Criminal Complaint


          LODGED
   CLERK, U.S. DISTRICT COURT
                                        United States District Court                                           7/7/21
   7/7/2021
CENTRAL DISTRICT OF CALIFORNIA
              JB
 BY: ____________BB______ DEPUTY
                                               CENTRAL               DISTRICT OF                  CALIFORNIA     slo




                                    UNITED STATES OF AMERICA
                                                       V.
                                        TANYA SUE COOPER                          CRIMINAL COMPLAINT
                                    REG#: 26312-048
                                                                    CASE NUMBER:         2:21-mj-03201 -DUTY
         I, the undersigned complainant, being duly sworn, state the following is true and correct to the best of
   my knowledge and belief.

           On or about August 22, 2020, in Los Angeles County, in the Central District of California (C/CA),
   defendant Tanya Sue Cooper (“COOPER”) did escape from the custody of the United States Attorney General,
   in violation of Title 18 United States Code (USC), Section 751. I further state that I am a Deputy U.S. Marshal
   and that this complaint is based on the following facts:

          On or about August 22, 2020, the United States Marshals Service received information from Juan
   Herrera, Residential Reentry Manager, stating that COOPER had escaped from the Vinewood Residential
   Reentry Center (“RRC”) located at 5520 Harold Way, Los Angeles, CA 90028. I reviewed Bureau of Prisons
   records, which describe COOPER as a 70-year-old black female, a United States citizen, born June 7, 1950,
   measuring approximately 5 feet, 2 inches tall, weighing approximately 140 pounds, with brown hair and brown
   eyes.

           From my review of court records, I learned that on September 11, 2017, in the United States District
   Court for the Eastern District of Texas, Texarkana Division, Case Number 5:16-CR-00006-001, COOPER was
   sentenced to a term of 72 months imprisonment and 60 months of supervised release. COOPER was scheduled
   to be released from federal prison on November 13, 2020. On August 22, 2020, at approximately 7:15 pm,
   RRC staff went to COOPER’s room to serve her confiscation notice and discovered that she was not there. At
   approximately 7:26 pm a fire drill was conducted in order to locate inmate COOPER; however, she was not
   located. COOPER’S whereabouts remain unknown.




   Continued on the attached sheet and made a part hereof:                     Yes : No

   Attested to by the applicant in accordance with the
   requirements of Fed. R. Crim. P. 4.1 by telephone,
                                                                             /s/America Bailon
                                                                            Signature of Complaint
                                                                            America Bailon
                                                                            Deputy U.S. Marshal

   July 7, 2021                                                             at Los Angeles, California
   Date                                                                     City and State


                  ______________
    John E. McDermott, U.S. Magistrate Judge
   Name & Title of Judicial Officer                                         Signature of Judicial Officer
